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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

 

GIOVANNI MARTINS
Plaintiff,

vs. Civil Action N0. 1:12-cv-11939-GAO

LUSTIG, GLASER WILSON P.C.

Defendants,

 

NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY DIMISSSAL OF
ACTION WITH PRE]UDICE
PURSUANT TO RULE 41(@)

Giovatmi Martins (“Plaintiff”), by Plaintist attomey, hereby Withdraws the complaint and
voluntarily dismisses this action, With prejudice, pursuant to FED. R. CIV. P. 41 (a) (1)(A)(i).

Dated: November 9, 2012

RESPECTFULLY SUBMITI`ED:

/S/ Kevin V. K. Crick. Esq.

Kevin V. K. Crick

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PROOF OF SERVICE

l hereby certify that on Novernber 9, 2012, a copy of the foregoing Was filed electronically in
accordance with the Court’s Electronic Filing Guidelines. Notice of this filing Will be sent to all
parties by operation of the court’s electronic filing system and electronic email. Parties may access
this filing through the Court’s system.

/s/ Kevin V. K. Crick` Esq.

